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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TIANA HILL, individually and as         )
MOTHER and next friend of baby D.H. her )
minor child,                            )
                                        )
      Plaintiffs,                       )
                                        )           CIVIL ACTION FILE NO.:
v.                                      )           1:21-CV-05300-TWT
                                        )
CLAYTON COUNTY GEORGIA,                 )
CLAYTON COUNTY BOARD OF                 )
COMMISSIONERS, CLAYTON COUNTY )
SHERIFF VICTOR HILL in his official and )
individual capacities, CORRECTHEALTH )
CLAYTON LLC, DR. CHARLES                )
CLOPTON in his official and individual  )
capacities, JOHN DOES in their official )
and individual capacities,              )
                                        )
      Defendants.                       )
                                        )

                                     ORDER

      Defendants have moved this Court to stay all discovery in this case pending

the resolution of their motion to dismiss plaintiff’s complaint. It appearing that

this Order is sought in good faith and no prejudice will accrue to the parties if such

motion is granted, and good cause having been shown, IT IS HEREBY

ORDERED that the Motion to Stay All Discovery is GRANTED. All discovery in

this case, including disclosures and planning conferences pursuant to Fed. R. Civ.
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P. 26 and L.R. 26.1, shall be stayed pending the final resolution of defendants’

motion to dismiss plaintiff’s complaint.

      SO ORDERED this ___         February
                      8th day of ____________, 2022.

                                       ______________________________
                                       THOMAS W. THRASH, JR.
                                       UNITED STATES DISTRICT JUDGE




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